    Case: 1:13-cv-04121 Document #: 67 Filed: 11/20/14 Page 1 of 3 PageID #:311



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DeARIUS JOHNSON,

              Plaintiff,

       v.                                          No. 13 C 4121

KIMBERLY PASSEHL,                                  Judge Virginia M. Kendall
      Will County Adult Detention Facility
      Deputy Sergeant, In his Individual and
      Official Capacity;
CHRIS YUHAS,
      Will County Adult Detention Facility
      Deputy Officer, In his Individual and
      Official Capacity;
RICHARD L. EARTLY,
      Will County Adult Detention Facility
      Emergency Response Team Member, In
      his Individual and Official Capacity;
MARTIN SOVICH,
      Will County Adult Detention Facility
      Emergency Response Team Member, In
      his Individual and Official Capacity;
TODD C. WITTMAYER.,
      Will County Adult Detention Facility
      Emergency Response Team Member, In
      his Individual and Official Capacity;
THOMAS HANNIGAN,
      Will County Adult Detention Facility
      Emergency Response Team Member, In
      his Individual and Official Capacity;
JEFF BOSTJANIC,
      Will County Adult Detention Facility
      Emergency Response Team Member, In
      his Individual and Official Capacity;
LOVAAI TOMELIAH,
      Will County Adult Detention Facility
      Emergency Response Team Member, In
      his Individual and Official Capacity; and
COUNTY OF WILL,
      An Illinois Municipal Corporation,

              Defendants.


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                                      NOTICE OF MOTION

TO:     PETERSON, JOHNSON & MURRAY, CHICAGO, LLC, ATTN: KEVIN CASEY, 200
        W. ADAMS STREET, SUITE 2125, CHICAGO, IL 60606, EMAIL:
        kcasey@pmjlaw.com

        On November 25, 2014 at 9:00 a.m., or as soon thereafter as counsel may be heard; I
shall appear before the Honorable Virginia M. Kendall, or any Judge sitting in her stead
in Court Room No. 2139 in the United States District Courthouse, 219 S. Dearborn Street,
Chicago, Illinois, and shall then and there present the attached Agreed Motion for Extension of
Time

                                                   /s/ Kevin W. O’Connor- #6216627
                                                   KEVIN W. O’CONNOR


Kevin W. O’Connor
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                                   CERTIFICATE OF SERVICE

TO:     PETERSON, JOHNSON & MURRAY, CHICAGO, LLC, ATTN: KEVIN CASEY, 200
        W. ADAMS STREET, SUITE 2125, CHICAGO, IL 60606, EMAIL:
        kcasey@pmjlaw.com

        I hereby certify that on November 19, 2014, the foregoing was filed electronically with the Clerk
of the Court using the CM/ECF system, which will electronically send notice to all parties of record.

                                                 /s/ Kevin W. O’Connor- #6216627
                                                 KEVIN W. O’CONNOR


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